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                       LAW OFFICE OF ROBERT FEITEL, P.L.L.C.
                            1300 Pennsylvania Avenue, N.W.
                              WASHINGTON, D.C. 20008
                                  202-450-6133 (office)
                                   202-255-6637 (cell)
                                 RF@RFeitelLaw.com

                                                    April 26, 2021

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
Manhattan, New York
                             Re:     United States v. Otto Salguero Morales, S5 15 Cr. 379

Dear Judge Castel,

        I am writing in response to the Court’s Minute Entry for the proceedings on April 12,
2021, which directed the defense to confer with the prosecutors on this case with respect to
outstanding discovery and a trial date. Since the status hearing I have consulted with the
Government about these matters both by telephone and through an exchange of emails and can
report the following to the Court.

        By letter dated April 22, 2021, the Government advised that they were providing
additional discovery in this case. A portion of the discovery was made available to me
immediately via an online portal, but in order to receive the larger, remaining discovery
materials, I need to send the prosecutors a USB drive, which will then be returned to me. I have
also made a discovery request to the United States for two additional categories of information:
(1) the recorded telephone calls and emails obtained in the Giovanni Fuentes case; and (2) more
particularized information about the details of my client’s alleged possession of a firearm as
charged in Counts Two and Three of the pending Indictment. I do not believe that the parties can
reach a mutually agreeable resolution of these two discovery issues.

        As a matter of professional responsibility, I need to receive and review the additional
discovery materials that will be provided to me and then discuss them with my client. Until such
time as I am able to do so, I will not be able to determine when the defense will be ready to
proceed to trial. As I explained to your Honor during the April 12, 2021 status hearing, we intend
to investigate certain claims by the Government, but need to be in possession of all the potential
discovery in order to formulate an efficient strategy. The Government has advised that it takes no
position as to the defense need for additional time before setting a trial date.
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      Thank you for consideration of this matter.

                                                    Respectfully submitted


                                                    Robert Feitel
                                                    ___________________________
                                                    Robert Feitel, Esquire
                                                    1300 Pennsylvania Avenue, N.W.
                                                    Washington, D.C. 20004
                                                    202-2550-6637 (cellular)
                                                    202-450-633 (office)
                                                    RF@RFeitelLaw.com


cc:   Kyle Wirshba, AUSA via ECF and email
      Jason Richman, AUSA via ECF and email
      Benjamin Schrier, AUSA via ECF and email
